   Case 2:12-cv-00859-LMA-MBN            Document 1739         Filed 04/14/25     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


                                          )
LASHAWN JONES, ET AL,                     )
Plaintiffs, and                           )
UNITED STATES OF AMERICA,                 )
Plaintiffs in intervention                )
                                          )                 Civil Action No. 2:12-cv-00859
v.                                        )                 Section I, Division 5
                                          )                 Judge Lance M. Africk
SUSAN HUTSON, ET AL,                      )                 Magistrate Judge Michael B. North
Defendants.                               )
_________________________________________ )
                                          )
SUSAN HUTSON,                             )
Third-Party Plaintiff                     )
                                          )
v.                                        )
                                          )
THE CITY OF NEW ORLEANS,                  )
Third-Party Defendant.                    )
                                          )

                           CONSENT MOTION TO WITHDRAW


       George Eppsteiner, as counsel for the United States of America (“United States”) in the

above referenced case, submits this consent motion to withdraw as counsel. Mr. Eppsteiner is

leaving the United States Department of Justice to accept an offer of new employment. The

United States will continue to be represented in this action by the attorneys below. Mr.

Eppsteiner respectfully requests that the Court terminate him as counsel of record for the United

States in this matter. A proposed order is enclosed as Exhibit 1. It has been an honor

representing the United States in this matter and the undersigned expresses his sincere thanks to

the Court.


FOR THE PLAINTFF, THE UNITED STATES:
  Case 2:12-cv-00859-LMA-MBN   Document 1739     Filed 04/14/25      Page 2 of 2




Dated: April 14, 2025
                                        REGAN RUSH
                                        Chief
                                        Special Litigation Section

                                        /s/ George Eppsteiner
                                        LAURA COWALL
                                        Deputy Chief (T.A.)
                                        GEORGE EPPSTEINER
                                        KATHERINE W. THOMPSON
                                        Special Litigation Section
                                        Civil Rights Division
                                        U.S. Department of Justice
                                        950 Pennsylvania Avenue, N.W.
                                        Washington, D.C. 20530
                                        Telephone: (202) 598-5165




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